      Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 1 of 13
                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
UNITED STATES BANKRUPTCY COURT                               SOUTHERN DISTRICT OFMay
                                                                                  TEXAS
                                                                                     16, 2023
                                                                                          Nathan Ochsner, Clerk

                 Motion and Order for Admission Pro Hac Vice

 Division             Houston               Main Case Number                  23-90342
                 Debtor                     In Re:     ENVISION HEALTHCARE CORPORATION,
                                                                      et al.



          Lawyer’s Name                Jacob A. Adlerstein
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 Name of party applicant seeks to      Funds and accounts managed by Kohlberg Kravis
 appear for:                           Roberts & Co. L.P.


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


            5/15/2023                                   /s/Jacob A. Adlerstein
 Dated:                      Signed:


 The state bar reports that the applicant’s status is: Currently registered


 Dated:
            05/16/2023
                             Clerk’s signature:   /s/ Z. Compean

             Order
                                               This lawyer is admitted pro hac vice.

Dated:
            August
            May     02, 2019
                16, 2023                              United States Bankruptcy Judge
                     Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 2 of 13
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 23-90342-cml
Envision Healthcare Corporation                                                                                        Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 12
Date Rcvd: May 16, 2023                                               Form ID: pdf002                                                           Total Noticed: 23
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 18, 2023:
Recip ID                   Recipient Name and Address
db                     +   Envision Healthcare Corporation, 1A Burton Hills Boulevard, Nashville, TN 37215-6187
aty                    +   Angela K. Herring, Wachtell, Lipton, Rosen & Katz, 51 West 52nd St, New York, NY 10019-6150
aty                    +   Anne G. Wallice, Kirland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643
aty                    +   Anne I. Salomon, 300 North LaSalle St, Chicago, IL 60654, UNITED STATES 60654-3406
aty                    +   Annie Dreisbach, Kirkland & Ellis LLP, 300 North LaSalle St, Chicago, IL 60654, UNITED STATES 60654-5412
aty                    +   C. Lee Wilson, 200 Park Avenue, New York, NY 10166-0005
aty                    +   Casey James McGushin, Kirkland & Ellis LLP, 300 N. LaSalle, Chicago, IL 60654-5412
aty                    +   David M. Feldman, Gibson Dunn & Crutcher, 200 Park Avenue, New York, NY 10166-4799
aty                    +   Eli J. Vonnegut, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017-3982
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aty                        Gianfranco Finizio, Kilpatrick Townsend & Stockton LLP, 1114 Avenue of the Americas, NYC, NY 10036-7703
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aty                    +   Joshua Greenblatt, 601 Lexington Ave., New York, NY 10022, UNITED STATES 10022-4611
aty                    +   Margaret Reiney, Kirkland & Ellis LLP, 601 Lexington Ave., New York, NY 10022-4643
aty                        Mary Beth Maloney, 200 Park Avenue, New York, NY 10166-0005
aty                    +   Michael Pera, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017-3982
aty                    +   Ruth Mulvihill, Kirkland & Ellis LLP, 300 North LaSalle St, Chicago, IL 60654, UNITED STATES 60654-5412
aty                    +   William Arnault, Kirkland & Ellis LLP, 300 North LaSalle, Chicago, IL 60654-5412
cr                     +   AHS Staffing, c/o Liz George and Associates, Attn: Lysbeth L. George, 8101 S. Walker, Suite F, Oklahoma City, OK 73139-9406
cr                         Envision Ad Hoc Group, c/o Gibson, Dunn & Crutcher LLP, 200 Park Avenue, New York, NY 10166-0005

TOTAL: 22

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
op                     + Email/Text: EBN@primeclerk.com
                                                                                        May 16 2023 20:22:00      Kroll Restructuring Administration LLC, (f/k/a
                                                                                                                  Prime Clerk LLC), 55 East 52nd Street, 17th
                                                                                                                  Floor, New York, NY 10055-0002

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Ad Hoc Group of AmSurg Lenders
cr                             Ad Hoc Group of First Lien AmSurg Lenders
intp                           Ankura Trust Company, LLC, in its capacity as Envi
cr                             Citibank, N.A.
intp                           Credit Suisse AG, Cayman Islands Branch, as AmSurg
cr                             Funds and Accounts Managed by Kohlberg Kravis Robe
intp                           Gary Begeman, as Independent Director
cr                             HCA-EMS Holdings, LLC
cr                             Thermo Fisher Scientific
                    Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 3 of 13
District/off: 0541-4                                               User: ADIuser                                                        Page 2 of 12
Date Rcvd: May 16, 2023                                            Form ID: pdf002                                                    Total Noticed: 23
cr                               Wilmington Savings Fund Society, FSB

TOTAL: 10 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 18, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 16, 2023 at the address(es) listed below:
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                   Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 4 of 13
District/off: 0541-4                                      User: ADIuser                                                           Page 3 of 12
Date Rcvd: May 16, 2023                                   Form ID: pdf002                                                       Total Noticed: 23
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                   Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 5 of 13
District/off: 0541-4                                       User: ADIuser                                                         Page 4 of 12
Date Rcvd: May 16, 2023                                    Form ID: pdf002                                                     Total Noticed: 23
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                 Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 6 of 13
District/off: 0541-4                                       User: ADIuser                                                         Page 5 of 12
Date Rcvd: May 16, 2023                                    Form ID: pdf002                                                     Total Noticed: 23
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                      Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 7 of 13
District/off: 0541-4                                          User: ADIuser                                                Page 6 of 12
Date Rcvd: May 16, 2023                                       Form ID: pdf002                                            Total Noticed: 23
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                     Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 8 of 13
District/off: 0541-4                                        User: ADIuser                                                         Page 7 of 12
Date Rcvd: May 16, 2023                                     Form ID: pdf002                                                     Total Noticed: 23
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                    Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 9 of 13
District/off: 0541-4                                      User: ADIuser                                                       Page 8 of 12
Date Rcvd: May 16, 2023                                   Form ID: pdf002                                                   Total Noticed: 23
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                     Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 10 of 13
District/off: 0541-4                                         User: ADIuser                                                        Page 9 of 12
Date Rcvd: May 16, 2023                                      Form ID: pdf002                                                    Total Noticed: 23
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                    Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 11 of 13
District/off: 0541-4                                          User: ADIuser                                                           Page 10 of 12
Date Rcvd: May 16, 2023                                       Form ID: pdf002                                                        Total Noticed: 23
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                   Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 12 of 13
District/off: 0541-4                                          User: ADIuser                                                            Page 11 of 12
Date Rcvd: May 16, 2023                                       Form ID: pdf002                                                         Total Noticed: 23
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                   Case 23-90342 Document 195 Filed in TXSB on 05/18/23 Page 13 of 13
District/off: 0541-4                                      User: ADIuser                                                  Page 12 of 12
Date Rcvd: May 16, 2023                                   Form ID: pdf002                                               Total Noticed: 23
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TOTAL: 237
